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                                                      May 26, 2020

  VIA ECF

  Honorable Loretta A. Preska
  U.S. District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007

           Re:      United States v. Donziger, 19 Cr. 561 (LAP); 11 Civ. 691 (LAK)

  Dear Judge Preska:

          I write on behalf of the United States in response to defendant Steven Donziger’s May
  20, 2020 letter application for modification of release conditions to permit him to leave his
  apartment each day without advance permission, from 4:00 p.m. to 6:00 p.m., so long as he
  remains on the Upper West Side between 96th Street and 116th Street. The Government opposes
  this request.

         At the May 18, 2020 conference, the defense made a very similar modification request,
  asking that the Court allow Mr. Donziger to be outside on the Upper West Side each day for a
  three-hour period. May 18, 2020 Tr. at 19. The Court expressed concern that “with a blanket
  three-hour block, I could be to the airport and on an airplane in three hours, so I’m not sure I’m
  ready for that.” Id. at 20. The Government shares that concern.

          Following the May 18 conference, the Government conferred with one of Pretrial
  Services’ (“PTS”) location monitoring specialists,1 who indicated that allowing a defendant on
  home detention with electronic monitoring to be outside each day for two hours—even within a
  certain radius—would be unusual absent a specific reason. For defendants with home detention
  and location monitoring release conditions, the specialist indicated that requests to be outside are
  addressed with their PTS officer on a case-by-case basis. The Government sees no reason to
  deviate from that practice here, given the findings the Court has already made regarding flight
  risk. This is particularly true where, as the Government understands from PTS, Mr. Donziger
  has not been fully compliant with his release conditions. Specifically, in March 2020, PTS

  1
    Mr. Donziger’s PTS Officer, Ms. Harmon, is not a location monitoring specialist and she referred the Government
  to one of those PTS specialists, with whom the Government consulted.
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approved Mr. Donziger’s attendance at a specific event at Madison Square Garden with his son.
Without informing PTS, Mr. Donziger did not go to the event and went someplace in Brooklyn
instead. PTS only learned about Mr. Donziger’s noncompliance when it later reviewed GPS data
from his ankle monitor. This incident raises concern given the defendant’s history of violating
court orders, which was among the numerous reasons the Court found him to be a flight risk.

        Under the current release conditions, Mr. Donziger is expressly permitted to leave his
apartment for family obligations, employment, education, religious services, medical treatment,
attorney visits, court appearances, and “other activities approved in advance” by PTS.2 Dkt. 4 at
4-5. In line with those release conditions, PTS has permitted Mr. Donziger to attend events with
his son and go to the park to play basketball with his son—with PTS approving each activity in
advance such that PTS knows exactly where Mr. Donziger will be and the duration. There is no
reason to vary from this practice. As the Court noted on May 18, these circumstances “are really
the inconvenience that befalls anyone who’s been found to be a risk of flight” with release
conditions of home detention and location monitoring. Tr. at 18.



                                                    Respectfully submitted,



                                                     s/Rita M. Glavin
                                                    Rita M. Glavin
                                                    Special Prosecutor



cc:     Andrew J. Frisch, Esq.
        PTS Officer Lea Harmon




2
 The Government’s understanding is that, generally, PTS requires specific requests to leave the home be made 48
hours in advance.
